                       UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK




 EMPIRE CORE GROUP LLC,                                      Case No.: ___________________
                              Plaintiff,

                – against –
                                                                      COMPLAINT
                                                                         FOR
 ACCREDITED SURETY & CASUALTY                                        DECLARATORY
 COMPANY, INC.,                                                       JUDGMENT
                              Defendant.




       Plaintiff EMPIRE CORE GROUP LLC (“ECG”) by and through its attorneys, WILSON &

CHAN, LLP, as and for its complaint for declaratory judgment against Defendant ACCREDITED

SURETY & CASUALTY COMPANY, INC. (“ASCC”), alleges as follows:




                                   NATURE OF THE CASE


       1.     This is an action for declaratory judgment pursuant to 28 U.S.C. §2201, in which

ECG seeks declaratory and ancillary relief against ASCC relating to the denial of indemnification

and defense for ECG arising out of a personal injury claim that allegedly occurred on December

5, 2019 and for which ECG has been named as a defendant despite conducting no work at the

location pursuant to an ASCC policy covering ECG’s subcontractor.
       2.      ECG seeks a declaratory judgment requiring: 1) ASCC to provide indemnification

and defense costs, including reimbursement for defense costs expended since ECG’s original

tender of the claim pursuant ASCC’s policy with ECG’s subcontractor; 2) attorneys’ fees, costs,

and disbursements incurred by ECG for this action as a result of ASCC’s repeated bad faith

denials of its obligations to provide indemnification and defense coverage to ECG; and 3) for such

other and further relief as the Court deems just, fair, and proper.




                                              PARTIES


       3.      ECG is a domestic limited liability company duly organized and existing by virtue

of the laws of the State of New York with its principal place of business located at 199 Main Street,

Floor 10, White Plains, NY 10601.

       4.      Upon information and belief, ASCC is corporation duly organized and existing by

virtue of the laws of the State of Florida with its principal place of business located at 4798 New

Broad Street, Suite 200, Orlando, FL 32814.




                                    JURISDICTION & VENUE


       5.      This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §1332(a)(1) based on complete diversity of citizenship because this action arises

between citizens of different states and meets the jurisdictional requirement for the amount in

controversy.

       6.      This Court has subject matter jurisdiction to hear this case pursuant to 28 U.S.C.



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§2201(a) to declare the rights and other legal relations as between ECG and ASCC.

        7.      The amount in controversy exceeds $75,000, exclusive of interest and costs.

        8.      Venue in this District is proper under 28 U.S.C. §1391(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred in this District.




                                       BACKGROUND FACTS


        9.      ECG is a construction manager that was retained by the owner of the subject

location, Stuyvesant Town-Peter Cooper Village (“Owner”) to arrange for work in the area

around 264 First Avenue, New York, NY 10009 (the “Premises”).

        10.     The Premises is listed on the New York City Department of Finance, Office of the

City Register database system (ACRIS) as occupying Block 972, Lot 1.

        11.     The Owner’s leasing office for its housing complex is located at the Premises.

        12.     Pursuant to its role as construction manager, ECG subcontracted the entirety of a

project to inspect and restore façades located in the Owner’s buildings near the Premises,

pursuant to NEW YORK CITY LOCAL LAW 11 of 1998, together with promulgated rule(s) issued by

the NYC Department of Buildings.1

        13.     ECG subcontracted the façade work to Bay Restoration Corp. located at 32-47 62nd

Street, Woodside, NY 11377 (“Bay Restoration”) by the execution of a Trade Contract dated on




1A copy of Local Law 11-98, together with implementing rules, is available at (date last accessed April 29,
2024): https://www.nyc.gov/assets/buildings/local_laws/locallaw_1998_package.pdf



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or about May 10, 2017 (the “Subcontractor Agreement”), a copy of which is attached hereto as

Exhibit A.

       14.    ECG did not perform, supervise, or direct any work at the Premises.

       15.     Pursuant to the Subcontractor Agreement, Bay Restoration would undertake all

performance, supervision, and direction of the façade work project.

       16.    Pursuant to the Subcontractor Agreement, Bay Restoration was also required to

obtain insurance for the project work and, additionally, to name ECG as a named insured, and is

required to indemnify, hold harmless, and defend ECG against any and all claims arising from

construction serviced related to those specified in the Subcontractor Agreement (façade work).

See Exhibit A, at pgs. B-10 and Exhibit G (naming all additional insureds, including ECG).

       17.    In furtherance of its work at and near the Premises, Bay Restoration secured a

permit to install “sidewalks [sic] shed per plans during façade repair work” (the “Permit”). The

Job No. issued by NYC Department of Buildings is 123121736, issued on August 21, 2017 and

approved on the same date. A copy of the Permit is attached hereto as Exhibit B.

       18.    The Permit was issued to George Kasternoz of Bay Restoration. See Exhibit B.

       19.    The address listed on the Permit is 280 First Avenue, New York, NY 10009. Id.

       20.    280 First Avenue is also listed on the New York City Department of Finance, Office

of the City Register database system (ACRIS) as occupying Block 972, Lot 1, the identical block

and lot number as the Premises.

       21.    Upon information and belief, the project work at the Premises was completed by

Bay Restoration in 2018.




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       22.     On or around December 5, 2019, Santiago Iraheta (“Iraheta”) claims he was injured

when a section of sign flashing blew off of the Premises and hit him, causing severe injuries.

       23.     Iraheta was employed by J. Coffey Contracting (“Employer”),2 located at 77-22

164th Street, Flushing, NY 11365, to perform repairs on a sidewalk in front of the Premises when

the incident occurred.

       24.     According to Iraheta, his injuries have prevented him from returning to work and

he is seeking damages in the sum of $15 million.3

       25.     Thereafter, Iraheta filed three (3) separate lawsuits, including:

                   a. [Owner Lawsuit] Santiago Iraheta v. BPP ST Owner LLC and Peter
                      Cooper Village, Supreme Court of the State of New York, County
                      of Queens, Index No. 712579/2020 (August 7, 2020);

                   b. [ECG Lawsuit] Santiago Iraheta v. Empire Core Group LLC,
                      Supreme Court of the State of New York, County of Queens,
                      Index No. 705952/2022 (March 17, 2022); and

                   c. [Bay Restoration Lawsuit] Santiago Iraheta v. Bay Restoration Corp.
                      and Traditional Waterproofing & Restoration, Inc., Supreme Court
                      of the State of New York, County of Queens, Index No.
                      714065/2022 (July 7, 2022).


       26.     On or around October 23, 2023, counsel for Owner filed an unopposed motion to

consolidate the three (3) actions into a single action for joint discovery and trial. See Index No.

712579/2020 [Owner Lawsuit], NYSCEF Doc. Nos. 30 to 37.

       27.     The motion to consolidate is still pending.



2Upon information and belief, Iraheta has filed a claim for Workers’ Compensation benefits through
Employer.

3In Iraheta’s response to the combined demands of ECG, dated on or about December 15, 2023, in the ECG
Lawsuit, Iraheta indicated his demand for $15 million.


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                        ATTEMPTS TO SECURE COVERAGE BY ECG


       28.     On or about May 8, 2023, counsel for ECG sent a demand for indemnification and

a tender of defense to Bay Restoration via certified and electronic mail (“Bay Tender”), a copy of

which is attached hereto as Exhibit C.

       29.     No response was received by ECG or its counsel to the Bay Tender.

       30.     On or about May 10, 2023, ECG (through counsel) sent a demand for

indemnification and a tender of defense to the insurance carrier for Bay Restoration, ASCC

(“ASCC Tender”), a copy of which is attached hereto as Exhibit D.

       31.     On or about May 18, 2023, counsel for ECG received a letter from Gallagher Bassett

Services (“GB”), representing itself as the third-party claims administrator for ASCC, their

managing agent the Tradesman Program Managers (“Tradesman”), and the policyholder Bay

Restoration and indicating that GB was in the process of investigating ECG’s claim (the “GB

Response”). A copy of the GB Response is attached hereto as Exhibit E.

       32.     The GB Response requested additional factual information from ECG. See Exhibit

E.

       33.     On or about May 18, 2023, counsel for ECG sent information requested in the GB

Response by electronic mail, including a copy of the Subcontractor Agreement, a Bay Restoration

Certificate of Insurance for 2017-18, and a Bay Restoration Certificate for 2018-19 (which

specifically includes ECG as an additional insured) (the “ECG Reply”). A copy of the ECG Reply

is attached hereto as Exhibit F, including its attachments.




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       34.     On or about May 31, 2023, counsel for ECG received a letter from Tradesman,

representing itself as the Managing General Agent for ASCC, denying coverage pursuant to the

ASCC Tender (the “Tradesman Denial”), stating:


       Based upon the information and investigation to date, and based on the terms of the
       Accredited Policy, Accredited has determined that the request for coverage must be denied
       at this time. There is presently no indication that the claimant’s alleged accident involved
       any of Bay’s acts or omissions, as required by the Policy. … I have been advised and
       investigation has revealed that Bay did not perform any work at the location complained
       of, i.e. 264 First Avenue. As such, the additional insured endorsement is not triggered.


       A copy of the Tradesman Denial is attached hereto as Exhibit G.


       35.     The Tradesman Denial also included an excerpt of Bay Restoration’s policy as

follows:




       See Exhibit G, at p. 2.




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       36.     In no communication to ECG from ASCC, Tradesman, or GB has ASCC denied the

existence of an insurance policy covering Bay Restoration or that ECG was not an additional

insured under the Bay Restoration policy for the claim of Iraheta.

       37.     In fact, Bay Restoration, in response to Iraheta’s combined discovery demands,

indicated as follows: “[Bay Restoration] was insured on the date of the subject incident by

Accredited Surety & Casualty Co Inc., policy #1-TPM-NY-17-01239738 with applicable limits of

$2M per occurrence and $4M aggregate.” See Index No. 712579/2020 [Bay Restoration Lawsuit],

NYSCEF Doc. No. 14.

       38.     On or about April 16, 2024, counsel for ECG, having received additional

information from claimant and counsel for Owner, sent a second demand for indemnification and

tender of defense to Tradesman, noting the existence of the Permit for work performed by Bay

Restoration at the Premises (the “Second Demand”), explaining that claimant’s position appears

to be that the sign flashing was loosened by the sidewalk shed erected by Bay Restoration as

required by its work on the façades of the nearby buildings. A copy of the Second Demand is

attached hereto as Exhibit H.

       39.     Neither Tradesman, ASCC, or GB has substantively responded to the Second

Demand.4


                                       (continued, next page)




4Counsel for ECG sent another email communication to Tradesman, dated April 29, 2024, reminding them
of the Second Demand and informing them of ECG’s intention to file a declaratory judgment action. The
only response to the April 29 communication was from Jocelyn Kelly, Esq. of Tradesman, stating “What
claim is this on?” Counsel for ECG thereafter forwarded (again) a copy of the Second Demand. No
response has been received since that time.


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         40.    As of the filing of this Complaint, ECG has been wrongly denied indemnification

and defense coverage as an additional or named insured under the Bay Restoration insurance

policy placed by ASCC.




                           AS AND FOR A FIRST CAUSE OF ACTION
                         (Declaration of Coverage Under Insurance Policy)


         41.    ECG incorporates herein by reference the claims and allegations set forth above,

inclusive, as if fully set forth herein.

         42.    An actual and present controversy exists between ECG and ASCC concerning the

latter’s obligation to provide coverage to ECG as an additional or named insured under ASCC’s

insurance policy with Bay Restoration with regard to the underlying claim by Iraheta.

         43.    ASCC’s repeated refusal to provide insurance coverage under the Bay Restoration

policy, one for which it admits is in place for the claims by Iraheta, even after receiving

information from ECG sufficient to establish ECG’s right to coverage as a named or additional

insured, including certificates of insurance, the Subcontractor Agreement, and appropriate notice

of the Iraheta claim, was wrongful.

         44.    ECG is, respectfully, entitled to a declaration that ASCC must provide coverage

for indemnification and defense costs to ECG, including those costs already incurred by ECG,

pursuant to the Subcontractor Agreement and its policy with Bay Restoration for the Iraheta

claim.

         45.    As the underlying case against ECG by Iraheta continues to proceed, judicial

declaration of the parties’ rights and obligations is necessary and appropriate at this time to fully


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and finally determine ASCC’s legal obligations to ECG, including any and all coverage set forth

in the Bay Restoration policy.




                                    PRAYER FOR RELIEF


       WHEREFORE ECG prays for judgment against ASCC as follows:


       1) On the First Cause of Action, a Declaration that ASCC is obligated to provide

           indemnification and defense coverage to ECG under the Bay Restoration policy for

           the Iraheta claim;

       2) An award of costs, attorneys fees, and disbursements expended by ECG to defend

           the Iraheta claim;

       3) An award of costs, attorneys fees, and disbursements related to the filing of this

           action; and

       4) Such other and further relief as this Court deems just, fair, and proper.




Dated: April 30, 2024




                                                    ___________________________________
                                                    Jeffrey L. Wilson, Esq. (JW9819)
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